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UNITED STATES DISTRICT COURT                                     FLECTRONIC;\l_L y FILE~)
SOUTHERN DISTRICT OF NEW YORK                                    DOC;,.
                                                                 DATEF-IL-E•-. ~
United States of America
                                                            J.gROPOSlffit
                V.                                          PROTECTIVE ORDER

A VIRAM AZARI,                                               19 Cr. 610 (JGK)

                            Defendant.



       Upon the application of the United States of America and the defendant having requested

discovery under Fed. R. Crim. P. 16(a)(l)(E), the Court hereby finds and orders as follows:

       1. Disclosure Material and Confidential Information. The Government will make

disclosure to the defendant of documents, objects, and information, including electronically stored

information ("ESI"), pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and

the Government's general obligation to produce exculpatory and impeachment material in criminal

cases, all of which will be referred to herein as "Disclosure Material."

       2. Confidential Information.        The Government's Disclosure Material may include

sensitive information ("Confidential Information") that (i) affects the privacy, confidentiality, and

business interests of individuals and entities; (ii) will impede the Government's ongoing

investigation of uncharged individuals if prematurely disclosed ; (iii) is not authorized to be

disclosed to the public or disclosed beyond that which is necessary for the defense of this criminal

case; or (iv) the broad disclosure of which would pose safety risks to individuals.

       3. Facilitation of Discovery. The entry of a protective order in this case will permit the

Government expeditiously to produce Disclosure Material without further litigation or the need

for substantial redactions. It will also afford the defense prompt access to such materials, in

substantially unredacted form, which will facilitate the preparation of the defense.
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       4. Good Cause. There is good cause for entry of the protective order set forth ?erein.

ACCORDINGLY, IT IS HEREBY ORDERED:

       5. Disclosure Material shall not be disclosed by the defendant or defense counsel,

including any successor counsel (collectively, "the defense"), other than as set forth herein, and

shall be used by the defense solely for purposes of defending this action.

       6. Disclosure Material may be disclosed by the defense to :

           a. The defendant;

           b. The following persons (hereinafter, "Designated Persons"):

                    1.   investigative, paralegal, secretarial, clerical, and other personnel employed

                         or retained by defense counsel;

                   11.   independent expert witnesses, investigators, or advisors retained by defense

                         counsel in connection with this action; and

           c. such other persons as hereafter may be authorized by the Court.

All Designated Persons to whom Disclosure Material is disclosed in accordance with this provision

shall be subject to the terms of this Order. To the extent Disclosure Material is disclosed to any

Designated Persons, defense counsel shall first provide each Designated Person with a copy of this

Order and instruct such Designated Persons that they are bound by the terms of this Order. Defense

Counsel shall make reasonable efforts to maintain a record of what Disclosure Material has been

disclosed to Designated Persons pursuant to this Order.

        7. Defense counsel may show Disclosure Material to potential witnesses ("Potential

Witnesses") during the course and for the purpose of investigation, but shall not disseminate

Disclosure Material to Potential Witnesses or permit Potential Witnesses to make or retain copies

of Disclosure Material. To the extent Disclosure Material is disclosed to Potential Witnesses,
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defense counsel shall first instruct each Potential Witness as to the terms of this Order and instruct

such Potential Witnesses that they are bound by the terms of this Order. Defense counsel shall

make reasonable efforts to maintain a record of what Disclosure Material has been disclosed to

Potential Witnesses pursuant to this Order.

        8. The defense shall not post any Disclosure Material on any Internet site or network site

to which persons other than the parties hereto have access, and shall not disclose any Disclosure

Material to the media or any third party except as set forth below.

        9. Confidential Information so designated by the Government, including any copies

thereof or excerpts therefrom, may be disclosed by defense counsel to the defendant for review at

the offices of defense counsel, or in the presence of defense counsel, for purposes related to this

case. Notwithstanding the foregoing, the defendant shall not maintain, retain, or keep copies or

notes of Confidential Information outside of the presence of defense counsel. All Confidential

Information possessed by defense counsel shall be maintained in a safe and secure manner.

        10. Unless authorized in writing by the Government or by an order of this Court, no

Confidential Information, or information derived therefrom, shall be filed publicly whether

excerpted within a filing or as an attachment to a filing. Any filings incorporating, containing, or

referencing Confidential Information shall be filed under seal.

        11. In the event of any dispute as to the Government's designation of particular material as

Confidential Information, the parties shall meet and confer regarding such dispute, without

prejudice to defense counsel's ability to seek de-designation of such material by the Court. Absent

a contrary order of this Court, the Government's designation of material as Confidential

Information shall be controlling.



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       12. The Government may authorize, in writing, disclosure of Disclosure Material,

including Confidential Information, beyond that otherwise permitted by this Order without further

Order of this Court

       13. This Order does not prevent the disclosure of any Disclosure Material, including

Confidential Information, in any judicial proceeding in this action, or to any judge or magistrate

judge, for purposes of this action. All public filings shall separately should comply with the

privacy protection provisions of Federal Rule of Criminal Procedure 49 .1.

                      Return or Destruction of Sensitive Disclosure Material

       6. Except for Disclosure Material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all Disclosure Material, within

thirty (30) days of the expiration of the period for direct appeal from any verdict in the above-

captioned case; the period of direct appeal from any order dismissing any of the charges in the

above-captioned case; or the granting of any motion made on behalf of the Government dismissing

any charges in the above-captioned case, whichever date is later.




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                                   Retention of Jurisdiction

       7. The provisions of this Order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order until the Court orders

otherwise.

       8. This Order may be signed in counterparts and transmitted by facsimile and/or electronic

copy, each of which counterparts will be deemed to be an original and which taken together will

constitute the Order.


SO ORDERED:


Dated: New York, New York
       February  Ji,
                   2020



                                                        RABLE JOHN G. KOELTL
                                            Uni    States District Judge
                                            Southern District of New York




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